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                      Exhibit '
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  GREGORY GREENE, individually and on
  behalf of all others similarly situated,

  Plaintiffs,
                                                       Case No. 1:14-cv-01437
  v.
                                                       Hon. Gary Feinerman
  MARK KARPELES, an individual,
                                                       Magistrate Judge Susan Cox
  Defendant.


                          DECLARATION OF GREGORY GREENE

       I, Gregory Greene, declare as follows:

       1.       I am the named plaintiff in this lawsuit. I am over the age of 18. I have personal

knowledge of the matters stated herein and could competently testify thereto.

       2.       I was deposed in this matter on November 11, 2019 in Chicago, Illinois.

       3.       During my deposition, counsel for Mr. Karpeles asked whether I reviewed

information on Mt. Gox’s website before opening an account. I testified that I had read the Mt.

Gox Terms of Use in its entirety, along with other information on the Mt. Gox website. I

additionally testified that the Terms of Use addressed Mt. Gox’s overall security as a bitcoin

exchange, but, at the time of my deposition, could not recite the Terms of Use from memory. I

was not provided with a copy of the Terms of Use to review during my deposition, nor was I

asked whether reviewing them might refresh my memory as to their specific contents.

       4.       Since my deposition, I have reviewed the Mt. Gox Terms of Use.

       5.       Based on my review, I recall reading and relying on specific representations made

in the Terms of Use when deciding whether to open and maintain a Mt. Gox account, including



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those addressing Mt. Gox’s basic security as a bitcoin exchange and listed under the sections

labeled “MT. GOX’S OBLIGATIONS” and “MEMBERS’ OBLGIATIONS.” As I testified, I

was not aware of any other bitcoin exchanges at the time that I opened my account, so having an

understanding of and confidence in Mt. Gox’s basic security features was very important to me.

       6.      During my deposition, I also testified that around and after the time I purchased

bitcoin and moved it onto Mt. Gox, I reviewed various forum posts on the bitcointalk.org

website, including posts made by Mark Karpeles. I testified that those posts included ones where

Mr. Karpeles wrote about the security of Mt. Gox and conveyed that the exchange was “solid,

secure, and stable.” Since my deposition, I located one such post that I recall reviewing in

September 2012, where Mr. Karpeles made representations regarding the security of Mt. Gox.

That post is available online at the following URL:

https://bitcointalk.org/index.php?topic=23938.msg1177353#msg1177353. I recall reading this

particular post from Mr. Karpeles with interest, because, at the time, I had learned about a

competing exchange (CampBX) that was based in the United States and was interested in how its

security features compared with Mt. Gox’s.

       7.      Had I known that the representations made in the Mt. Gox Terms of Use were not

true, I would not have deposited or maintained bitcoins on Mt. Gox. For example, had I known

that Mt. Gox did not have enough bitcoins to satisfy its users’ deposits (as the Terms of Use

stated), I would have withdrawn my entire deposit immediately. Likewise, if I had known that

Mt. Gox withheld that it had been hacked and/or lost bitcoins on numerous undisclosed

occasions—a point I have been made aware of only over the course of this lawsuit—I would

have withdrawn my holdings immediately. I would have taken the same action had I known that




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Mark Karpeles was, through an undisclosed bot, buying bitcoins from, and selling bitcoins to,

other Exchange members using artificial bitcoin and cash assets.

       8.      As I testified, the first time I suspected that the representations made in the Mt.

Gox Terms of Use were not true was when I read about other Mt. Gox users having problems

withdrawing their bitcoins from the site. I attempted to withdraw my holdings to a personal

bitcoin wallet after reading about these experiences, but was unsuccessful.

       I declare under penalty of perjury that the foregoing is true and correct.



Dated: 02 / 18 / 2020
                                              Gregory Greene




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